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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------X

 RICARDO VELASQUEZ,                                                            22 Civ. 07115 (LGS)

          Plaintiff,
                                                                                 CIVIL CASE
 vs.                                                                          MANAGEMENT PLAN
                                                                               AND SCHEDULING
 1517 NEW BANI GROCERY, INC.,                                                       ORDER
 a New York corporation, d/b/a NEW
 BANI GROCERY, and 138 EAST 98
 STREET HOUSING DEVELOPMENT
 FUND CORPORATION, a New York
 housing development fund company,

               Defendants.
------------------------------------------------------------------X
 LORNA G. SCHOFIELD, United States District Judge:

         This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.
 Civ. P. 26(f)(3).

 1.       All parties [consent        / do not consent √      ] to conducting all further
          proceedings before a United States Magistrate Judge, including motions and trial. See
          28 U.S.C. § 636(c). The parties are free to withhold consent without adverse substantive
          consequences. [If all parties consent, the remaining paragraphs need not be completed.]

 2.       The parties [have        √    / have not            ] conferred pursuant to Fed. R. Civ. P. 26(f).

 3.       This case is governed by one of the following sets of rules, and the parties’ proposed
          dates in this order have been adjusted accordingly.

          a.        An employment case governed by the Initial Discovery Protocols for Employment
                    cases? https://nysd.uscourts.gov/hon-lorna-g-schofield. [Yes   / No   √     ]

          b.        A case governed by Local Civil Rule 83.10, Plan for Certain § 1983 Cases
                    Against the City of New York? https://nysd.uscourts.gov/rules
                    [Yes                   / No √       ]

          c.        A patent case subject to the Local Patent Rules and the Court’s Individual Rules?
                    https://nysd.uscourts.gov/rules and https://nysd.uscourts.gov/hon-lorna-gschofield
                    [Yes        / No    √         ]


                                                                                     Revised October 14, 2021
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     d.       A wage and hour case governed by Initial Discovery Protocols for Fair Labor
              Standards Act? https://nysd.uscourts.gov/hon-lorna-g-schofield.
              [Yes        / No √ ]

4.   Alternative Dispute Resolution/Settlement

     a.       Settlement discussions [have          / have not    √ ] taken place.

     b.       Counsel for the parties have discussed an informal exchange of information in aid
              of early settlement and have agreed to exchange the following:




     c.       Counsel for the parties have discussed the use of the following alternate dispute
              resolution mechanisms for use in this case: (i) a settlement conference before a
              Magistrate Judge; (ii) participation in the District’s Mediation Program; and (iii)
              retention of a private mediator. Counsel for the parties propose the following
              alternate dispute resolution mechanism for this case:

                 (ii) Participation in the District’s Mediation Program



     d.       Counsel for the parties recommend that the alternate dispute resolution
              mechanism designated in paragraph 4(c) be employed at the following point in
              the case (e.g., within the next 60 days; after the deposition of plaintiff is
              completed (specify date); after the close of fact discovery):

                   Within the next 60 days


     e.       The use of any alternative dispute resolution mechanism does not stay or
              modify any date in this Order.

5.   No additional parties may be joined after 2/11/23        without leave of Court.

6.   Amended pleadings may be filed without leave of Court until          2/11/23       .

7.   Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
         14         days from the date of this Order. [Within 14 days of the parties’ Rule 26(f)
     conference, absent exceptional circumstances.]




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8.   Fact Discovery

     a.       All fact discovery shall be completed no later than     5/11/23                 .
              [A period not to exceed 120 days, unless the Court finds that the case presents
              unique complexities or other exceptional circumstances.]

     b.       Initial requests for production of documents pursuant to Fed. R. Civ. P. 34 shall
              be served by         2/27/23             .

     c.       Responsive documents shall be produced by        3/27/23   .
              Do the parties anticipate e-discovery? [Yes           / No √        ]

     d.       Interrogatories pursuant to Fed. R. Civ. P. 33 shall be served by
                     2/27/23               .

     e.       Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by
                  5/11/23                         .

     f.       Requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by
                  7/25/23                         .

     g.       Any of the deadlines in paragraphs 8(b) through 8(f) may be extended by the
              written consent of all parties without application to the Court, provided that
              all fact discovery is completed by the date set forth in paragraph 8(a).

9.   Expert Discovery [if applicable]

     a.       Anticipated types of experts if any:
                     ADA expert regarding accessibility



     b.       If you have identified types of experts in question 9(a), all expert discovery shall
              be completed no later than       6/26/23                 .
              [Within 45 days from the date in paragraph 8(a), i.e., the completion of all fact
              discovery, absent exceptional circumstances.] Omit if you have not identified
              types of experts.

     c.       If you have identified types of experts in question 9(a), by 4/11/23 [no later
              than one month before the date in paragraph 8(a), i.e., the completion of all fact
              discovery] the parties shall meet and confer on a schedule for expert disclosures,
              including reports, production of underlying documents and depositions, provided
              that (i) expert report(s) of the party with the burden of proof shall be due before
              those of the opposing party’s expert(s); and (ii) all expert discovery shall be
              completed by the date set forth in paragraph 9(b).


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10.     This case [is         / is not   √    ] to be tried to a jury.

11.     Counsel for the parties have conferred and their present best estimate of the length of trial
        is 2 days                     .

12.     Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
        Fed. R. Civ. P. 26(f)(3), are set forth below:




13.     Status Letters and Conferences

        a.       By 3/13/23        [60 days after the commencement of fact discovery], the parties
                 shall submit a joint status letter, as outlined in Individual Rule IV.A.2.

        b.       By 5/25/23             [14 days after the close of fact discovery], the parties shall
                 submit a joint status letter, as outlined in Individual Rule IV.A.2 and, in the event
                 that they have not already been referred for settlement discussions, shall also
                 advise the Court whether or not they request a referral for settlement discussions
                 as provided in Paragraph 4(c) above.
                          July 12, 2023 at 4:10 P.M.
        c.       On       XXXXXXXXXXXXXXXXXX
                         7/10/23         at 10:00 A.M. [usually 14 days after the close of all
                 discovery], a pre-motion conference will be held for any anticipated dispositive
                 motions, provided:

                     i. A party wishing to file a summary judgment or other dispositive motion
                        shall file a pre-motion letter at least two weeks before the conference and
                        in the form provided in the Court’s Individual Rule III.A.1. Any party
                        wishing to oppose shall file a responsive letter as provided in the same
                        Individual Rule. The motion will be discussed at the conference. To join
                        the conference, the parties shall call (888) 363-4749 and use Access Code
                        558-3333. The time of the conference is approximate, but the parties shall
                        be ready to proceed at that time.

      ii.        If no pre-motion letter is timely filed, this conference will be canceled and the
                 matter placed on the Court’s trial-ready calendar. The parities will be notified
                 of the assigned trial-ready date and the filing deadlines for pretrial submissions.
                 The parties are warned that any settlement discussions will not stay pretrial
                 deadlines or the trial date.




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        This Order may not be modified or the dates herein extended, except as provided in
paragraph 8(f)) or by further Order of this Court for good cause shown. Any application to
modify or extend the dates herein, except as provided in paragraph 8(f), shall be made in a
written application in accordance with the Court’s Individual Rules and shall be made no less
than 2 business days prior to the expiration of the date sought to be extended.

        Notwithstanding any other rules governing discovery or other deadlines, the parties
shall follow the deadlines set forth herein unless expressly ordered otherwise by the Court.

        The Clerk of Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)-(c) and
13(a)-(c) into the Court’s calendar.



       SO ORDERED.

Dated: January 5, 2023
      New York, New York

                                                              LORNA G. SCHOFIELD
                                                              United States District Judge


Counsel for the Parties:


 Plaintiff                                            B. Bradley Weitz, Esq.

 1517 New Bani Grocery, Inc.                           Enrique A. Leal, Esq.




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